            IN THE UNITED STATES DISTRICT COURT
       FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
             CIVIL CASE NO. 1:17-cv-00341-MR-WCM


UNITED STATES OF AMERICA and )
STATE OF NORTH CAROLINA ex rel. )
DARRYL LANDIS, M.D.,            )
                                )
                    Plaintiffs, )
                                )
      vs.                       )           ORDER OF DISMISSAL
                                )
 GENOVA DIAGNOSTICS, INC.;      )
 GNVA HOLDINGS, INC.; GNVA      )
 EQUITY HOLDCO, INC.; LEVINE    )
 LEICHTMAN CAPITAL PARTNERS )
 V, L.P.; LAUREN LEICHTMAN;     )
 AARON PERLMUTTER; CHRIS        )
 SMITH; and JOHN DOES 1-10,     )
                                )
                    Defendants. )
 ______________________________ )

     THIS MATTER is before the Court on the Stipulation of Dismissal

of Claims against Defendants filed by the United States and the

Relator, Darryl Landis, M.D. pursuant to the False Claims Act, 31

U.S.C. § 3730(b)(1) and Rule 41(a) of the Federal Rules of Civil

Procedure [Doc. 39] and the State of North Carolina’s Consent to

Dismissal of Claims against Defendants [Doc. 40].

     Upon review of the Stipulation of Dismissal; the Settlement

Agreement executed by the United States, Relator, and Genova


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Diagnostics, Inc.; the State of North Carolina’s Consent; and the entire

record of this cause, the Court hereby enters the following Order.

     IT IS, THEREFORE, ORDERED:

     (1)   The Court approves the dismissal of this action pursuant to

Fed. R. Civ. P. 41(a)(1)(A)(i) and 31 U.S.C. § 3730(b)(1);

     (2)   All claims and causes of action set forth in the Qui Tam

Complaint are DISMISSED WITH PREJUDICE as to the Relator;

     (3)   All claims and causes of action set forth in the Qui Tam

Complaint and brought on behalf of the United States against Defendant

Genova for the “Covered Conduct,” as that term is specifically defined in

Paragraph E of the April 20, 2020 Settlement Agreement between the

United States, Relator and Genova Diagnostics, Inc., are hereby

DISMISSED WITH PREJUDICE as to the United States;

     (4)   All other claims against Genova Diagnostics, Inc. and all

claims against any other Defendant named herein are DISMISSED

WITHOUT PREJUDICE to the United States; and

     (5)   All claims and causes of action set forth in the Qui Tam

Complaint and brought on behalf of the State of North Carolina against

the Defendants are hereby DISMISSED WITHOUT PREJUDICE as to

the State of North Carolina.




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      The Clerk of the Court is respectfully directed to provide an

executed copy of this Order to counsel for the United States, counsel for

the State of North Carolina, counsel for Relator, and counsel for Genova

Diagnostics, Inc., Arthur J. Fried.

      IT IS SO ORDERED.
                                Signed: April 29, 2020




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